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IN THE UN_ITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

STEPH_ANIE OBERST,
Plaintiff,

v. Case No. CIV-l6-826-M
QUANTUM H_EALTH CARE,
INC.,

a domestic, for-profit business
corporation,

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Defendant.

 

DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
WITH BRIEF IN SUPPORT

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

STEPHANIE OBERST, )
)
Plaintiff, )
)

v. ) Case No. CIV~16-826-M
)
QUANTUM HEALTH CARE, )
'INC., )
a domestic, for-profit business )
corporation_, )
)
Defendant. )

DEFENDANT’S MOTION FOR SUMMARY J`UDGMENT
AND BRIEF IN SUPPORT

Defendant, Quantum Health Care lnc., respectfully submits its motion for
summary judgment and brief in support.

In order for the Court to have a full understanding of the issues presented for
decision, a brief abstract of the record is reproduced here regarding the backgron of
the case as Well as a recitation of undisputed material facts pursuant to Rule 56
F.R.C.P. All referenced testimony and documents are contained in Defendant’s
evidentiary exhibits as follows:

Exhibit 1 _ Deposition of Stephanie Oberst

Exhibit 2 _ K-mail exchanges

Exhibit 3 - Quantum’s Responses to PlaintifPs interrogatories

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Exhibit 4 - Affidavit of Sam Ghosn

Exhibit 5 - Affidavit of Lynette Carter

Exhibit 6 - Affldavit of Kathy Graham

Exhibit 7 - Affidavit of Mesha Hughes

Exhibit 8 ~ Affidavit of Marla Dodd
I. BACKGROUND

Plaintiff, Stephanie Oberst, filed this action on July 22, 2016 against Quantum
Health Care, lnc., alleging:

(i) Violation of Title VII of the 1964 Civil Rights Act for Gender

Discrimination and Pregnancy Discrimination

(ii) Retaliatory Discharge of Employment.

As shown below, Plaintiff"s allegations are completely devoid of evidentiary
support and fail to create any questions of fact for ajury.

Quantum Health Care lnc. provides services to home health patients and Ms.
Oberst Was hired as an RN Case Manager in December, 2014. ln late March or early
April 2015, Ms. Oberst advised Quantum that she Was seeking to become pregnant
through ln Vitro Fertilization (IVF). Ms. Oberst confirmed that Quantum honored
every request to be off work for her appointments (Fact 3). Although Plaintiff had a
“high risk pregnancy” there Were no restrictions on her duties as an RN Case Manager
and she did not request special accommodations (Fact 7). Plaintiffs retaliatory
discharge claim arises from her personal opinion that a patient Was not “homebound

and eligible for TriCare Services.” Although Ms. Oberst had the authority to

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discharge the patient, she did not do so. lt was not until she saw that management was
not going to discharge the patient that she claimed Quantum was engaging “in
possible fraud.” Ms. Oberst did not know how management resolved the “homebound
question”, however she believed Quantum was committing fraud if they kept him on
as a billable patient. After an investigation, Quantum confirmed the patient was
“homebound” and continued home health treatment Thereafter the patient was
assigned to another nurse. These events took place September 23-25, 2015 and
Plaintiff was certainly not fired because of her opinions regarding the patient’s
“homebound” status.

ll. STATEMENT OF UNI)ISPUTED MATERIA_L FACTS
(Rule 56 FRCP)

1. Plaintiff filed a charge of discrimination with the Equal Employment
Opportunity Commission (“EEOC”) on December 8, 2015 and the EEOC issued its
Dismissal and Notice of Rights of letter on lune 1, 2016 (Complaint, Doc. 1 1125).

2. Ms. Oberst started her employment with Quantum Health Care, lnc. in
December, 2014 as a Home Health Registered Nurse. She spent most of her
employment as an RN Case Manager over home health patients (Complaint, Doc. 1
115).

3. Plaintiff provided the Director of Nursing (DON), Kathy Graham, with a

copy of her IVF schedule which had all the dates on it and they did not express any

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displeasure with Plaintiff pursuing the IVF process and Quantum granted every
request for these days off (Pl’s Depo., Exhibit l, pg. 98; lines 4-13).

4. Ms. Oberst’s time off for the IVF process included 3 days of bed rest on
June 23, 24 and 25 which were all work days. (Pl’s Depo., Exhibit 1, pg. 109; lines 3-
5).

5. In Ms. Oberst’s mind, Quantum was supporting her IVF process and
getting pregnant by letting her have these days off. Moreover, Ms. Oberst stated that
from December 1, 2014 through at least the last day of her bed rest June 25, 2015, no
one engaged in any conduct which she considered discriminatory (Pl’s Depo.,
Exhibit 1, pg. 110; lines 2-25).

6. On June 15, 2015, Kathy Graham advised MS. Oberst that she had pulled
four visits off her and moved them to Stacy to help lighten her work load. l\/loreover,
Ms. Graham stated she wanted to support Ms. Oberst fully in her conception endeavor
and reserved the right to recoup some of this extra time off in future weeks. Ms.
Oberst provided an update on the IVF and on June 20, 2015 confirmed today she
needed off because of bed rest. (Exhibit 2).

7. Ms. Oberst told Quantum that she was consulting with a high risk
pregnancy doctor, however She did not have any restrictions by her doctor. Moreover,

she never requested any accommodation (Pl’s Depo., Exhibit 1, pg. 21, lines 6-25).

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8. On or about May 18, 2015, Ms. Oberst requested that another RN take
her call schedule for a week and Lynette Carter volunteered (Pl’s Depo., Exhibit 1,
pg. 29, lines 19-25; pg. 30, lines 1-12).

9. Plaintiff confirms that Kathy Graham put a copy of the company’s
FMLA policy on her desk. She believed it may have been the lSt of November. (Pl’s
Depo., Exhibit 1, pg. 27, lines 11-19).

10. Ms. Oberst did not ask Kathy to provide her a copy of the FMLA policy
and she initiated that on her own (Pl’s Depo., Exhibit l, pg. 28, lines 5-9).

11. Ms. Oberst pointed out two instances where she felt she didn’t get the
full support of either management or her co-workers. In this regard, she felt Kathy
Graham was real short with her for a couple of weeks at the end of June and early
July. She asked Sam Goshn if there was something going on with Kathy and Kathy
later apologized and disclosed that her daughter had went through IVF and it failed.
(Pl’s Depo., Exhibit 1, pg. 16, lines 3-22).

12. According to Ms. Oberst the second incident was in early July when
Kathy Graham added a “start of care”. Ms. Oberst said she didn’t know if it would be
a good idea for her to work long hours today whereupon Kathy said “I have been
more than lenient with you, Stephanie, and your baby making ordeal, you will do the
start of care today.” At this time, Ms. Oberst did not have any restrictions by her

doctor and she did not tell Kathy Graham that she was not able to do this because of

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how she felt. Moreover, Ms. Oberst didn’t request any accommodation (Pl’s Depo.,
Exhibit l, pg. 20, lines 18-25; pg. 21 , lines 1-23).

13. Ms. Oberst was provided a document identifying her job responsibilities
regarding her transfer to the Chateau. The job description accurately described her
responsibilities and Ms. Oberst confirmed that she actually moved over to the Chateau
on Monday, October 12, 2015. (Pl’s Depo., Exhibit l, pg. 49, lines 12~25; pg. 50,
lines 14-19).

14. Ms. Oberst testified that she complained to co-workers about the transfer
to the Chateau. She recalled she spoke with Marla Dodd but could not remember
anyone else. (Pl’s Depo., Exhibit 1, pg. 50, lines 20-25; pg. 51, lines 1~12).

15. Ms. Oberst did not mind being transferred to the Chateau, however she
did not want to do all the duties listed on the job description Plaintiff was told by
Kathy Graham that she was needed at the Chateau. (Pl’s Depo., Exhibit l, pg. 54,
lines 13-24).

16. ln September 2015, Ms. Oberst was assigned to patient J.L. to perform
skilled nursing services (Pl’s Depo., Exhibit 1, pg. 65, lines 2-25).

17. Ms. Oberst had some concern whether patient J.L. was really
“homebound.” (Pl’s Depo., Exhibit l, pg. 66, lines 15-18).

18. Ms. Oberst was scheduled to perform skilled nursing services near the

end of September and he wasn’t at the house. Ms. Oberst found out after the fact that

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patient J.L. had to go to the wound care center to get a script. (Pl’s Depo., Exhibit 1,
pg. 69, lines 11-25; pg. 70, lines 1-16).

19. Ms. Oberst sent a K-mail to Lynette and Maria that she was concerned
about patient J.L.’s status as homebound. Kathy Graham was not listed as a recipient
because Ms. Oberst would just go to Lynette. Ms. Oberst was told to take her
concerns to Lynette instead of Kathy before September 15, 2015. (Pl’s Depo., Exhibit
1, pg. 134, lines 12-25; pg. 135, lines 1-15).

20. Ms. Oberst testified that during her discussion with Kathy Graham
regarding the patient J.L. charting incident, her pregnancy or IVF process was never
brought up. (Pl’s Depo., Exhibit 1, pg. 126, lines 22-25; pg. 127, lines 1-7).

21. Ms. Oberst stated that no one ever told her they were terminating her
because she was pregnant and confirmed she didn’t get a reason at all. (Pl’s Depo.,
Exhibit l, pg. 138, lines 15-19).

22. Plaintiff confirmed that she received a job description represented in
document number 0347 (Pl’s Depo., Exhibit 1, pg. 84, lines 17-25; pg. 85, lines 1-25;
pg. 86., lines 1-10).

23. Ms. Oberst did not know if her employer was happy with her work at the
Chateau. (Pl’s Depo., Exhibit 1, pg. 57, lines 7-9).

24. Ms. Oberst stated that a patient who is determined to be “homebound
can go to a medical appointment and attend church.” (Pl’s Depo., Exhibit 1, pg. 67,

lines, 19~23).

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25. Plaintiff did not state in patient J.L.’s chart that he should be discharged
(Pl’s Depo., Exhibit 1,, pg. 69, lines 20-25).

26. Plaintiff"s involvement with patient J.L. ceased completely on
september 24“'1- (Pre Depe. Exhibit 1, pg. 219, lines 22-25).

27. Plaintiff did not know whether patient J.L. had billable or non-billable
visits. (Pl’s Depo. Exhibit l, pg. 213, lines 22-24).

28. Ms. Oberst did not dispute the fact that she complained to co-workers
about her working conditions and unfair task assignments (Pl’s Depo. Exhibit 1, pg.
174, lines, 15-18).

29. According to Ms. Oberst it would be fraud if they sent in a claim as
homebound and billable however, she did not know if that happened (Pl’s Depo.
Exhibit 1, pg. 171, lines 24-25; pg. 172, lines 1-5).

30. Plaintiff did not know whether patient J.L.’s treatment was discontinued
and she never asked (Pl’s Depo. Exhibit l, pg. 169, lines 13-17).

31. Another RN, Lauren Hammontree, was pregnant and she was further
along in her pregnancy than Ms. Oberst and confirmed that Lauren never related that
she was discriminated against during her employment with Quantum. (Pl’s Depo.
Exhibit 1, pg. 24, lines 1-25; pg. 25, lines 1-18).

32. Ms. Oberst confirmed the emails sent from Kathy Graham to Lynette
Carter that she planned on working up until she went into labor. (Pl’s Depo. Exhibit l,

pg. 32, lines 7-16).

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33. Ms. Oberst identified her job responsibilities that were provided to her
regarding the transfer to the Chateau. (Pl’s Depo. Exhibit l, pg. 49, lines 19-25).

34. Plaintist last day with Quantum was November 13, 2015. (Pl’s Depo.
Exhibit 1, pg. 56, lines 5-12).

III. STANDARD FOR SUMMARY .]UDGMENT

Summary judgment is appropriate “if the pleadings, depositions, answers to
interrogatories, and admissions on file, together with the affidavits, if any, show that
there is no genuine issue as to any material fact and that the moving party is entitled to
a judgment as a matter of law.” Fed R. Civ. P. 56(c); Jones v. Kodak Med. Assistance
_i_’la_nl 169 F.3d 1287, 1290 (10th Cir. 1999). Under Rule 56(c1, “the mere existence cf
some alleged factual dispute between the parties will not defeat an otherwise properly
supported motion for summary judgment.” Anderson v. Libertv Lobbv. lnc., 477 U.S.
242, 247-48, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986). Rather, “[o]nly disputes over
facts that might affect the outcome of the suit under the governing law will properly
preclude the entry of summary judgment.” Id. at 248.

Initially, the moving party bears the burden of demonstrating the absence of a
genuine issue of material fact. See Shapolia v. Los Alamos Nat’l Lab., 992 F.2d
1033, 1036 (10th Cir. 1993) (citations admitted). The moving party need not negate
the nonmovant’s claim, but rather must show “that there is an absence of evidence to
Support the nonmoving party’s case.” Celotex v. Catrett, 477 U.S. 317, 325, 106 S.

Ct. 2543, 91 L. 136. 26. 265 (1936).

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Once the moving party meets its initial burden, the nonmoving party must show
that genuine issues remain for trial “as to those dispositive matters for which it carries
the burden cf proof.” Applied Genetics lnt’l lnc. v. First Affiliated Secs., Inc., 912
F.2d 1238, 1241 (10th Cir. 1991) (citation omitted). The nonmoving party cannot rely
upon conclusory allegations or contentions of counsel to defeat summary judgment,
Pueblo v. Ne_ighborhood Health Ctrs.. Inc., 847 F.2d 642, 649 (10th Cir. 1988), but
rather must “go beyond the pleadings and by [its] own affidavits, or by the
‘depositions, answers to interrogatories, and admissions on file, designate ‘specific

facts showing that there is a genuine issue for trial.”’ Celotex 477 U.S. at 324

 

(quoting Fed. R. Civ. P. 56(e).

Upon a motion for summary judgment, the Court “must view the facts in the
light most favorable to the nonmovant and allow the nonmovant the benefit of all
reasonable inferences to be drawn from the evidence.” Kaus v. Standard lns. Co., 985
F. Supp. 1277, 1281 (D. Kan. 1997), a}jf’d 162 F.3d 1173 (10th Cir. 1998). if there is
no genuine issue of material fact in dispute, then a court must next determine whether
the movant is entitled to judgment in its favor as a matter of law. See e.g., Jenkins v.

Wood 81 F.3d 988, 990 (10th Cir. 1996); Celotex 477 U.S. at 322.

 

 

IV. PLAINTIFF'S CLAIM OF PREGNANCY DISCRIMINATION
FAILS AS A MATTER OF LAW.

The Tenth Circuit has held that a claim under the PDA “is analyzed the same as

other Title VII claims." Atchlev v. Nordam Group` lnc., 180 F.3d 1143, 1148 (10‘h

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Cir. 1999), quoting EEOC v. Ackerman. Hood & McOueen, 956 F.2d 944, 947 (10th
Cir. 1992). Thus, when assessing the Plaintiff"s evidence, the court follows the three
stage analysis in McDonnell Douglas v. Green1 411 U.S. 792 (1973)

At the first stage, the Plaintiff must show: (1) she is within the protected
class; (2) she was doing satisfactory work; (3) she was discharged; and (4) her
position remained open and was ultimately filled by a non-pregnant employee
See Atchley, 180 F.3d at 1148. If the Court finds that the Plaintiff" s claims meet
the applicable prima facie test, the burden shifts to Quantum tc articulate a
"legitimate, nondiscriminatory reason" for its decision to take adverse action
against the Plaintiff. Ial. At this stage, Quantum need only produce evidence (not
prove) that it had a non-discriminatory reason for taking an adverse action against
the Plaintiff See Love v. Re/Max of Am.. 738 F.2d 383, 385 (10th Cir. 1984).
When Quantum meets this burden, the presumption of discrimination established
by the prima facie showing 11simply drops out of the picture," and the burden of
persuasion shifts back to Plaintiff. Jones v. Unisvs Corp., 54 F.3d 624, 630 (10th
Cir. 1995). In this third stage, the Plaintiff must show either that pregnancy
discrimination was a determinative factor in Quantum's decision or that Quantum's
explanation for its action was merely pretext. Atc_hley, 180 F.3d at 1149.

F or the reasons discussed below, the Plaintist claim of pregnancy

discrimination fails as a matter of law.

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A. Assuming that the Plaintiff Can State a Prima Facie Case, Quantum
Can Provide a Legitimate, Non-Discriminatory Reason for
Terminating the Plaintiff.

In spite of the overwhelming evidence that Plaintiff was engaging in
disruptive behavior, Quantum will assume for purposes of this motion that the
Plaintiff’s own testimony about her short tenure at Quantum will be sufficient to
Satisfy part two (2) of her prima facie case. See Beaird v. Seagate Tech., Inc., 145
F.3d l 159, 1166 n.3 (10lh Cir. 1998) (noting that a Plaintiff may make out a prima
facie case of discrimination in a discharge case by credible evidence that she
continued to possess the objective qualifications she held when she was hired, cr
by her own testimony that her work was satisfactory, even when disputed by her
employer, or by evidence that she had held her position for a significant period of
time.) Quantum admits that all other prima facie elements have been met.
Therefore, the burden shifts to Quantum to articulate a "legitimate
nondiscriminatory reason" for its decision to discharge the Plaintiff. Murray v. City of
Sapulpz_t, 45 F.3d 1417, 1420, 1421 (10th Cir. 1995). Because Plaintiff has satisfied
her burden of establishing a prima facie case of discrimination, the Court turns to
whether Defendant has met its burden to articulate a legitimate, nondiscriminatory
reason for Plaintiff’s discharge “This burden is one of production, not persuasion; it
can involve no credibility assessment.” Carter v. Pathfinder Energy Servs., Inc., 662
F.3d l 134, 1 149 (10lh Cir. 2001) (quoting Reeves v. Sanderson Plumbing Prods., Inc.,

530 U.S. 133, 142, 120 S. Ct. 2097, 147 L. Ed. 2d 105 (2000).

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Plaintiff’ s pregnancy had no causal connection with Plaintiff’s termination

Rather, Quantum fired the Plaintiff because she engaged in disruptive behavior

including, but not limited tc:

l.

6.

Repetitively calling current employees to complain about working
conditions

General negativity.

Employees came to management reporting that Ms. Oberst’s constant
negativity was draining them emotionally and they began screening out
her phone calls.

Ms. Oberst’s refusal to discuss any alternative work assignments

Complaining to cri-workers that the work assignment at the Chateau was
not fair even after she agreed to dc it.

Requesting to be fired (Fact 14) (Exhibits 5, 6, 7, 8 & 9).

This facially legitimate and non-discriminatory reason for Plaintist

discharge satisfies Quantum's stage two burden of persuasion See Robbins v.

Jefferson Countv Sch. Dist.. 186 F.3d 1253, 1259 (10th Cir. 1999).

 

B.

The Plaintiff Cannot Show Her Pregnancy Was A Determining
Factor ln Her Termination Or That Quantum's Reasons for
Terminating Her Were Merely A Pretext for Pregnancy
Discrimination

The burden of production having been met by Quantum, Plaintiff must now

present enough evidence for a reasonable fact finder to conclude that pregnancy

discrimination was a determinative factor in Quantum's decision to terminate her

employment or that its explanation for her termination was merely a pretext Atchley,

180 F.3d at 1149. Once claims reach the pretext stage, “the only question on summary

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judgment is whether there is a conflict in substantial evidence to create a jury question
regarding discrimination11 Havnes v. Pennzoil Co., 207 F.3d 296, 300 (5th Cir. 2000).
ln the absence of any direct evidence of discrimination (which Plaintiff does not
have), courts have held there are at least three types of circumstantial evidence in
cases under the PDA, including: l) evidence that similarly situated, non-pregnant
employees systematically received better treatment; 2) evidence of suspicious
timing, behavior, and other information from which an inference of discriminatory
intent can be drawn; or 3) evidence that the Plaintiff was qualified and replaced by
a non-pregnant person and that the employer's stated reason is unworthy of belief.

O‘Hara 917 F. Supp. at 1530-31 (citing Troupe, 20 F.3d at 736). Failure to come up

 

with this type of circumstantial evidence entitles Quantum to judgment as a matter

oflaw.

i. THERE IS NO EVIDENCE O`F SIMILARLY SITUATED NON-
PRECNANT EMPLOYEES SYSTEMATICALLY RECEIVING
BETTER TREATl\/IENT.

First and foremost, there is no evidence that similarly situated, nonpregnant
employees were treated better than the Plaintiff There is likewise no evidence of
discrimination against other pregnant employees at Quantum. In fact, Lauren
Hammontree was pregnant during Plaintiff s tenure and was very complimentary of
her treatment (Exhibit 2, page. l). Thus, the "similarly situated" evidence in this case
actually weighs heavily in favor of quantum. See O‘Hara v. Saint Francis Hosp., Inc.,

917 _F. Supp. 1523, 1531 (N.D. Okla. 1995) (holding that the Plaintiff did not raise

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an inference of pretext where there were other nurses who were pregnant, took

maternity leave and returned to work without incident); Wolz v. The Deaton-

 

Kennedy Co., U.S. Dist. LEXIS 8462 (granting summary judgment in spite of alleged

negative comments about absenteeism related to pregnancy.

ii. PLAINTIFF CANNOT RELY ON TIlVlING UNDER THE
CIRCUMSTANCES OF THIS CASE.

Second, under the circumstances of this case, Plaintiff cannot rely upon
timing to defeat summary judgment. In light of Quantum’s undisputed support for
Plaintiff’s IVF process, it is impossible for Plaintiff to claim she was not treated the
same as nonpregnant employees Numerous courts have held under similar
circumstances that a close proximity between a pregnancy announcement and
adverse action is not enough to defeat summary judgment. See Troupe v. May
Dept. Stores Co., 20 F.3d 734, 737 (7th Cir. 1994). (holding that pregnant
employee’s discharge one day prior to maternity leave did not preclude summary

judgment); O’Hara 917 F. Supp. at 1531 (granting summary judgment for

 

employer even though write-ups began not long after the Plaintiff announced her
pregnancy on the basis that timing alone is not enough to implicate discriminatory
intent, particularly in light of the favorable evidence submitted by the employer
regarding reasons for termination and treatment other pregnant employees); w
v. Beth Israel Med. Ctr. er a!., 546 F. Supp. 2d 142, 152 (S.D.N.Y. 2008) (granting
summary judgment for employer where the Plaintiff relied almost entirely on the

close temporal proximity of her pregnancy announcement and termination which

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alone was not enough to establish pretext); Leeker v. Gill Studios, Inc.1 21 F. Supp.
2d 1267, 1273 (D. Kan. 1998) (granting summary judgment for employer sued
under the PDA where the Plaintiff failed to produce evidence from which a
reasonable jury could believe the reason for termination was a false one and relied

instead on timing).

iii. THERE IS NO EVIDENCE FROM WHICH A REASONABLE
JURY COULD FIND QUANTUM'S DECISION UNWORTHY OF
BELIEF.

Faced with no evidence of similarly situated employees who were treated better
than her, and without being able tc rely on timing alone, the Plaintiff is expected to
focus on comments by the Director of Nursing, Kathy Graham, in an effort to
establish pretext. (Facts ll & 12). This too fails as it is well-settled that stray
comments are not sufficient to defeat summary judgment. See e.g., Bush v.
Dictaphone Corp.1 161 F.3d 363, 369 (6th Cir. 1998); Gleason v. Mesirow Fin., lnc.,
118 F.3d 1134, 1140 (7th Cir. 1997); Cone v. Longmont United Hosp. Ass’n., 14 F.3d
526, 531 (10th Cir. 1994); Gover v. Speedwav Super Am.. LLC.. 284 F. Supp. 2d 858,
864 (S.D. Ohio 2003).

A Plaintiff must demonstrate a nexus exists between the allegedly
discriminatory statement and the company’s termination decision M

ASP Inc. 210 F.3d 1132, 1140 (10th Cir. 2000). The Court’s attention is invited to

 

Judge Friot’s opinion in Stone v. lntegris Health. 2009 U.S. Dist. Lexis 82130,

wherein he stated:

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Plaintiff contends that Ms. Morgan was standoffish, was not
receptive to questions, that she failed to communicate clearly, and
that she did not seem to take the responsibility of training Plaintiff
very seriously. Presuming these contentions are true and that Ms.
Morgan had a grudge against Plaintiff, there is no evidence that
the source of the grudge had anything to do with Plaintiff’s
pregnancy.

Furthermore, the passage of time can also render a comment too remote to
support a finding of pretext. See Antonio v. Svgma Network, lnc., 458 F.3d 1177,
l 184 (10th Cir. 2006). According to Plaintiff, the second comment by Kathy Graham
occurred in early July, 2015 (Fact 12) and Ms. Oberst’s employment ended on
November 13, 2015. (Fact 34).

When the Court evaluates alleged pretext, it must consider the facts as they
appeared to the decision-makers, Riggs v. AirTran Airways. lnc.. 497 F.3d 1108,
1119 (10th Cir. 2007). The Court will not second-guess an employer’s business
judgment or replace its opinion of best practices with either an employee’s opinion or
our own. Garrison v. Gambro, inc.. 428 F.3d 933, 938, 150 Fed. Appx. 819 (10th Cir.
2005). Thus, the Court does not ask whether an employer’s decisions were wise or
fair; they ask only “whether the employer honestly believed its reasons and acted in
good faith upon them.” Riggs, 497 F.3d at 1 1 18-19.

Based on the undisputed evidence, Plaintiff cannot prove discrimination
because she was pregnant. ln fact, the evidence points to the inescapable conclusion

that Quantum supported her IVF process and pregnancy. For these reasons, Quantum

is entitled to summary judgment against Plaintiff.

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In the event Plaintift`s federal claim is dismissed Defendant requests that the
Court decline pendent jurisdiction over the state claim for retaliatory discharge and
dismiss that cause of action without prejudice Brooks v. Gaenzle, 614 F.3d 1213
(10th cir. 2010).
V. PLAINTIFF’S “BURK” CLAIM FAILS AS A MATTER OF LAW
Plaintiff alleges that she was discharged for performing acts that were

consistent with the public policies of Oklahcma citing Burk v. K-Mart 1989 OK 22,

 

770 P.2d 24. In w the Plaintiff, who was an at-will employee, brought a contract
and tort action against her former employer alleging that her termination was a
violation of an implied covenant of good faith and fair dealing. The Court
recognized that at-Will employees may be discharged for good cause, no cause or
even cause which is morally wrong, without being guilty of a legal wrong. The
Court went on to rule that a terminated employee might have a cause of action if the
termination was in contravention of a clear mandate of public policy, cautioning that
the public policy exception must be lightly circumscribed". The Ber court
concluded by addressing the role of the trial court by noting that frivolous lawsuits
Will be screened out by the courts on motions to dismiss or summary judgment.
Since issuing that opinion the Oklahoma Supreme Court has applied its ruling in a
number of cases.

ln Griffin v. Mullpix, 1997 OK 120, 947 P.2d 177, plaintiff asserted that the federal

OSHA statutes and Oklahoma's own Occupational Safety & Health Standards Act provided

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the public policy upon which he relied in support of his claim of wrongful tennination. The
Court rejected the Plaintiff"s argument because the Oklahoma Act did not apply to the
defendant as a private employer and determined the plaintiff could not maintain a claim of
violation of public policy based solely upon federal law. ln its opinion the Court recognized
that, “the clear mandate of public policy required by Burk must be 1articulated by
constitutional, statutory or decisional law.’ Burk, 770 P.2d at 28." [emphasis added].

In Vasek v. Board of Countv Com'rs, 2008 OK 35, 186 P.3d 928 the Oklahoma
Supreme Court further articulated the elements and burden on the plaintiff to state an
actionable claim under Burk as follows:

The elements of a claim for wrongful discharge of an at-will employee

articulated in Burk and its progeny can be summarized A viable Burk claim

must allege (1) an actual or constructive discharge (2) of an at-will employee (3)

in significant part for a reason that violates an Oklahoma public policy goal (4)

that is found in Oklahoma's constitutional, statutory, or decisional law or in

a federal constitutional provision that prescribes a norm of conduct for

Oklahoma and (5) no statutory remedy exists that is adequate to protect the

Oklahoma policy goal. See McCradv v. Okla. Dept. of Pub. Safetv. 2005 OK 67,

11 9, 122 P.3d 473, 475; See also Darrow 2008 OK 1, 1111 9-19, 176 P.3d at 1210-
16. [emphasis added].

 

In Barker v. State Insurance Fund, 40 P.3d 463 (Okla. 2001), the Oklahoma
Supreme Court noted that “Oklahoma law protects both internal and external
reporting of whistle-blowers who establish a sufficient public policy violation from
retaliatory discharge.” The Court, however, held that discharged employees of the
State lnsurance Fund (SIF) failed to articulate a well-defined public policy violation

The employees claimed that they had been discharged for disagreeing with the

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management reorganization of the SIF, the outsourcing of claim files to outside
counsel, and reductions in force. The Court held that these complaints were based
on personal opinions about the way an organization was managed and therefore did
not state a claim for a public policy violation that would constitute an exception to
the at-will employment doctrine

ln Wilburn v. Mid-South Health Development, lnc., 343 F.3d 1274 (10th Cir.
2003), a diversity case applying Oklahoma law, the Tenth Circuit applied 13le to
a case involving an employee who claimed that she was discharged for reporting
theft of medication and the falsification of medication records by another employee
at a residential care facility. The facility contended that the employee, Wilburn,
was terminated because she did not follow the chain of command because
otherwise she would have had to report the co-worker’s misconduct to a supervisor
who was a close friend of the co-worl<er.

Wilburn alleged that she was terminated in violation of the Oklahoma
Uniform Controlled Dangerous Substance Act. The Tenth Circuit, however, held
that the existence of this statute, which criminalizes the theft of controlled

dangerous substances, was not sufficient to establish the “clear mandate of public

 

policy” necessary to state a Burk tort claim. The Court affirmed the district court’s
grant of summary judgement for the facility. Significantly, the Court held that the
determination of a public policy exception to the general rule of at-will

employment in Oklahoma is a question of law for the court.

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Paragraph 37 of Plaintiff’s Second Cause of Action for Retaliatory
Discharge (Doc. 1) states as follows:

As stated herein, Plaintiff reported what she witnessed as a possible

violation of the law in order to ensure that Defendant did not

participate in a violation of the law or public policy. However,

Defendant pressured Plaintiff to not report the perceived insurance

fraud, and threatened her with termination if she did not remove a

note in the file explaining what had occurred

Ms. Oberst was of the opinion that patient J.L. was not homebound and sent
an internal Kmail to this effect. Although she had the authority to discharge the
patient, she did not do so. ln Ms. Oberst’s mind, Quantum was committing fraud
“if they kept him on as a billable patient.” Ms. Oberst candidly admitted in her
deposition that:

1 . She never went back and checked on anything;

2. She did not know if the Doctor overruled the homebound opinion that she
rendered;

3. She did not know whether people talked to TriCare regarding the
patient’s homebound status;

4. Plaintiff did not know whether a claim was submitted to TriCare that was
fraudulent Although Ms. Oberst determined the patient was not
“homebound”, she did not know whether her opinion was reversed or
whether they continued services.

ln Darrow v. Intearis Health lnc., 2008 OK 1, 176 P.3d 1204, 1210 (Okla.

2008), the Oklahoma Supreme Court determined that the trial court erred in

dismissing the lawsuit on the ground that it failed to state a claim upon which relief

could be granted

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Darrow’s job was to seek payment for services provided to patients covered
by Medicare, Medicaid and insurance benefits He had to verify the accuracy of
patient information that was to be submitted to payer entities Darrow involved
internal reports about lntegris record discrepancies dealing with allegation of
falsification of documents submitted to Medicare, possible Medicare fraud and
concerns about patient safety. The instant case is factually dissimilar to Darrow in
that Ms. Oberst expressed her opinion that patient J.L. was not “homebound” and
she elected not to discharge him although she had the authority. The Court’s
attention is invited to the following deposition testimony of Ms. Oberst which
appears at Exhibit l, page 71 , lines 12-25 and page 72, lines 1-6.

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Q. And so once you reported it I think you made
some reference to possible fraud. Is that right?

A. Correct.

Q. Okay. When you say possible fraud, possible
fraud by who?

A. The home health company and the

administrator.

Q. So, on the date that you report it you think
that your employer has engaged in possible fraud‘.’

Right?
A. Not at that time
Q. When?

A. lt was after seeing that he was not going to
be discharged and they were going to keep him on

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services and keep billing him and his insurance

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Q. Okay. And you don’t know to what extent
Quantum confirmed his homebound status. Correct? You
don’t know whether they had a conversation with the
doctor, do you?

A. I don’t know.

Additionally, Ms. Oberst’s position is that the possible fraud arises from
Quantum’s failure to adopt her opinion that patient J.L. was not “homebound.”

Ms. Oberst’s opinion is similar to the opinion in Barker supra. which was rejected

 

by the Court. Plaintiff has failed to identify an Oklahoma public policy goal that is
clear and compelling and articulated in existing constitutional, statutory or
jurisdictional law. Clinton v. Sate ex rel. Logan Countv Election Bd., 2001 OK 52,
29 P.3d 543, 546 (Okla. 2001).

Accordingly, it is appropriate for the Court to enter summary judgment in
favor of Defendant on Plaintiff"s “Burk” claim.

Respectfully submitted this 1St day of August, 2017.

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CERTIFICATE OF SERVICE

This is to certify that on this 1St day of August, 2017, the foregoing document was
electronically served upon the following using the Court’s CM/ECF system to:

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